     Case 4:18-cv-00184-WTM-BKE Document 93 Filed 05/02/23 Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF GEORGIA
                              SAVANNAH DIVISION

BRIAN J. HUFFMAN, as                         )
Administrator of the Estate of               )
Eliud Montoya-Arcos, Deceased,               )
                                             )
             Plaintiff,                      )
                                             )
      v.                                     )           CV 418-184
                                             )
THE DAVEY TREE EXPERT                        )
COMPANY, et al.,                             )
                                            )
             Defendants.                     )
                                        _________

                                        ORDER
                                        _________

      The Court GRANTS Defendant’s consent request for a schedule to file updated and
amended motions to dismiss. (Doc. no. 90.) The Court sets the following deadlines:

      Last Day for Any Defendant to File Amended              June 15, 2023
      Motion to Dismiss

      Last Day for Plaintiff to File Amended Complaint        July 14, 2023

      Last Day for Plaintiff to File Opposition to Any        July 14, 2023
      Defendant’s Motion to Dismiss

      If Plaintiff Files Any Opposition, Last Day for Any     July 31, 2023
      Defendant to File a Reply

      If Plaintiff Files an Amended Complaint, Last Day       August 14, 2023
      for Any Defendant to File Motion to Dismiss the
      Amended Complaint

      SO ORDERED this 2nd day of May, 2023, at Augusta, Georgia.
